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     United States of America
 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
      UNITED STATES OF AMERICA,                  )   CASE NO. 1:11-CR-00016 AWI
11                                               )
                           Plaintiff,            )
12                                               )   STIPULATION TO ADVANCE STATUS
      v.                                         )   CONFERENCE;
13                                               )   ORDER THEREON
                                                 )
14    ALFREDO COLORADO,                          )   Date: October 3, 2011
       aka Jose Alfredo Colorado                 )   Time: 9:00 a.m.
15    Munoz,                                     )   Dept: Hon. Anthony W. Ishii
                                                 )
16                         Defendant.            )
                                                 )
17                                               )
                                                 )
18                                               )
                                                 )
19
20          IT IS HEREBY STIPULATED by and between the parties hereto, and
21   through their respective attorneys of record herein, that the status
22   conference for defendant ALFREDO COLORADO, aka Jose Alfredo Colorado
23   Munoz, in the above-referenced action now scheduled for October 24,
24   2011, at 9:00 a.m. is advanced to October 3, 2011, at 9:00 a.m.
25          The advancement of the sentencing hearing is being requested by
26   the parties to allow the case to proceed with all five defendants
27   appearing on the same date.
28          The parties agree that the time between the defendant’s
     arraignment on August 26, 2011 and the new status conference date on
     Stipulation to Advance Status Conference;
     Order Thereon
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 1   October 3, 2011 shall be excluded in the interests of justice,
 2   including but not limited to, the need for the period of time set
 3   forth herein for effective defense preparation pursuant to 18 U.S.C.
 4   §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).
 5
 6   Dated: September 29, 2011                     /s/Renee Gardner
                                                   RENEE YVONNE GARDNER
 7                                                 Attorney for Defendant
                                                   ALFREDO COLORADO, aka
 8                                                 Jose Alfredo Colorado Munoz
 9
10   Dated: September 29, 2011                     BENJAMIN B. WAGNER
                                                   United States Attorney
11
12                                         By: /s/Henry Z. Carbajal III
                                               HENRY Z. CARBAJAL III
13                                             Assistant U.S. Attorney
14
15
           IT IS SO ORDERED.      Time is excluded pursuant to 18 U.S.C.         §§
16
     3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).
17
18
19   IT IS SO ORDERED.
20
     Dated:         September 29, 2011
21   0m8i78                               CHIEF UNITED STATES DISTRICT JUDGE
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     Stipulation to Advance Status Conference;
     Order Thereon                             2
